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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


HERMAN GREINSTEIN, Individually and
For Others Similarly Situated,

               Plaintiff,

       v.                                            Case No. 2:18-cv-00208-Z-BR

GRANITE SERVICES INTERNATIONAL,
INC. and FIELDCORE SERVICES
SOLUTIONS, LLC,

               Defendants.


               DEFENDANTS’ RESPONSE TO ORDER TO SHOW CAUSE
       On August 13, 2020, Defendants filed an Emergency Motion to Cease Improper Notice

and Solicitations and to Enforce Agreement (the “Motion”). On August 25, 2020, this Court

ordered Defendants’ counsel to “show cause for mislabeling the Motion as an ‘emergency’ when

they waited months before seeking relief, and failing to timely confer with opposing counsel before

filing the Motion.” (Dkt. 111 at 1.) Defendants’ counsel respectfully responds to the Court’s Order,

addressing each topic—the labeling of the Motion and timeliness of conferral—in turn, and

commits to comply strictly with the letter and spirit of the Court’s Rules regarding motion practice.

I.     Basis for Emergency

       In requesting emergency relief when they did, Defendants sincerely believed that

Plaintiff’s counsel’s unauthorized distribution of notice to unrepresented individuals, running in

tandem with a request for Court-authorized notice, presented an exigent situation necessitating

urgent review. Defendants’ belief was informed by case law and undersigned counsel’s personal

experience. That belief was further shaped by the fact that in the days and weeks after learning of

Plaintiff’s counsel’s first advertisement, Defendants learned of multiple additional advertisements.
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       In the context of a putative FLSA collective action, a request for conditional certification

triggers “a district court’s discretionary authority to oversee and facilitate the notice process.”

Halle v. W. Penn Allegheny Health Sys. Inc., 842 F.3d 215, 224 (3d Cir. 2016); see also Greinstein

v. Granite Servs. Int’l, Inc., 2019 WL 6330631, at *2 (N.D. Tex. Aug. 27, 2019), rpt. and rec.

adopted, 2019 WL 6330123 (N.D. Tex. Nov. 26, 2019) (“Whether courts issue notice is entirely

within their discretion.”). The Supreme Court has recognized “the wisdom and necessity for early

judicial intervention in the management of litigation.” Hoffmann-La Roche Inc. v. Sperling, 493

U.S. 165, 171 (1989). Such intervention occurs at the conditional certification stage. See id. Here,

Plaintiff’s counsel’s unauthorized distribution of advertisements concerning claims in this case to

individuals whom they do not represent, at the same time they have asked the Court to supervise

and authorize notice, created, in Defendants’ view, an urgent problem that warranted more

immediate attention than Plaintiff’s simultaneous request for formal notice.

       It is the undersigned’s sincerely held belief that distributing notice while simultaneously

requesting Court authorization to send notice of a pending FLSA action is wrong. And not just

wrong, but fundamentally misleading and damaging, as the parallel process has the potential of (1)

requiring Defendants and this Court to expend time and resources on a motion to facilitate notice

while Plaintiff simultaneously takes steps that could render notice needless, and (2) falsely

conveying the Court’s imprimatur on Plaintiff’s counsel’s unilateral social media campaign. It is

within this Court’s sole discretion to manage how and when notice will be provided, if at all. It is

Defendants’ view—as well as the undersigned’s sincerely held belief—that Plaintiff should not be

permitted to undermine that discretion by distributing notice via his online advertisements.

       Parties have sought, and other courts have granted, similar emergency motions under

analogous circumstances, including in cases in which Defendants’ counsel participated. For




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example, in Maddox v. Knowledge Learning Corp., before the court approved any form of notice,

the defendant filed an “emergency motion for a cease and desist order” regarding plaintiffs’

website. 499 F. Supp. 2d 1338, 1340-41 (N.D. Ga. 2007). The court quickly ordered “plaintiffs to

temporarily remove the website pending an accelerated period of briefing on the issue.” Id.

          In Aiuto v. Publix Super Markets, Inc., decided days after this Court determined the instant

Motion, the defendant discovered that plaintiffs had posted notice of the FLSA litigation on the

internet without the court’s authorization.1 No. 1:19-cv-04803, Order (Dkt. 79), slip op. at 2 (N.D.

Ga. Aug. 28, 2020). The defendant filed an emergency motion to stop the unauthorized notice. The

plaintiffs responded by arguing, among other things, that the defendant had waited too long to file

its motion as emergent. See Aiuto, No. 1:19-cv-04803, Pls.’ Resp. in Opp’n to Emergency Mot.

for Sanctions (Dkt. 73), at 21 (N.D. Ga. Aug. 24, 2020). The plaintiffs also argued that it was their

First Amendment right to post the notice as they saw fit. Acknowledging that it might have allowed

the website posting if plaintiffs had sought its approval, the court ordered the website taken down

within five days and sanctioned the plaintiffs by ordering that they pay the defendant’s fees

associated with seeking emergency relief. Aiuto, Order (Dkt. 79), slip op. at 6. See also Sandoval

v. Serco, Inc., 2019 WL 2075910, at *6-7 (E.D. Mo. 2019) (finding that plaintiffs’ counsel’s pre-

conditional certification social media contacts with putative collective members circumvented the

court’s authority to oversee notice and were so improper as to justify sanctions).

          In Herrmann v. GutterGuard, Inc., the defendants learned from the plaintiffs’ lawyers that

they intended to distribute unauthorized notice by newspaper publication. No. 1:04-cv-00365,

Defs.’ Emergency Mot. (Dkt. 12), at 2 (N.D. Ga. Mar. 1, 2004). The defendants filed an emergency

motion to stop them from doing so. The court ultimately issued an order governing how the parties


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    The court had authorized notice to be distributed by U.S. Mail and email only.


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could communicate with putative FLSA collective members. Herrmann, Order (Dkt. 110) (N.D.

Ga. Aug. 17, 2004).2

       Defendants’ counsel Brett Bartlett was counsel for the defendants in Maddox, Aiuto,

Hermann, and Sandoval. Kevin Young was counsel for the defendant in Sandoval. Experience in

these cases, as well as counsel’s broader experience litigating other FLSA cases, informed their

view regarding the urgency of the relief that these Defendants sought in this case. That courts had

granted emergency motions, at least in part, in the former three, and found that social media

communications usurped a court’s authority to oversee FLSA collective action notice in the other,

caused the undersigned to feel confident in their approach here.

       At least three other cases are instructive, as well. In 2003, Plaintiff’s lead counsel, Richard

Burch, filed an emergency motion to stop a defendant from communicating unilaterally with

putative FLSA collective members before approved notice was distributed in Belt v. EmCare, Inc.

299 F. Supp. 2d 664, 665 (E.D. Tex. 2003). Belt argued, among other things, “[d]espite the duty

of this Court to oversee and ensure a fair, unbiased and neutral notification of class members, [the

defendant] chose to unilaterally communicate with potential class members regarding this action.”

Belt, No. 6:03-cv-00073, Pl.’s Emergency Mot. For Protective Order (Dkt. 53), at 5 (E.D. Tx. Nov.

25, 2003). The court granted Belt’s emergency motion, finding the defendant “subvert[ed] both

the Court’s role in this collective action and the Court’s approved notice by unilaterally sending a



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  In Baldridge v. SBC Communications, Inc., the defendants filed an emergency motion in this
Court to stop the plaintiff’s lawyer from distributing notice to putative FLSA collective members
before the Court approved of the notice. No. 2:07-cv-00149, Defs.’ Emergency Mot. (Dkt. 108)
(N.D. Tex., filed Aug. 26, entered Aug. 27, 2004). That same day, the Honorable Judge Mary Lou
Robinson granted the emergency motion to prevent premature issuance of notice, and approved
the notice for distribution almost two months later. See Order Granting Mot. to Temporarily Stay
Issuance of Notice (Dkt. 107) (N.D. Tx. Aug. 26, 2004); Amended Order (Dkt. 125) (N.D. Tx.
Oct. 15, 2004). The undersigned, Brett Bartlett, was counsel in that case.


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misleading and coercive letter to potential class members . . . .” Belt, 299 F. Supp. 2d at 670.

Although Belt’s procedural posture differed because FLSA notice had been authorized already, the

fundamental question posed by the emergency motion the court granted was the same as it is here:

should the Court stop a party’s unauthorized communications with putative collective members?

        The plaintiff in Belt did not move the court for a preliminary injunction, but instead invoked

Rule 23 and the Supreme Court’s ruling in Hoffman La-Roche as the foundational grounds for the

emergency motion. Thereafter, in Vogt v. Texas Instruments, Inc., the defendant sought a

preliminary injunction and restraining order to stop the plaintiffs’ unauthorized communications

with putative collective members. 2006 WL 4660133, at *1 (N.D. Tex. 2006). Even though cast

as a motion for a temporary restraining order, the parties advised the court that Belt’s analytical

framework should apply. The court agreed to apply Belt’s framework, but in conjunction with the

standard applicable to preliminary injunctions because the defendant had applied for what

amounted to such injunctive relief. Id. at *2 n.4. It is unclear from the court’s order granting the

defendant’s motion in part and from the parties’ briefing why the defendant applied for a

preliminary injunction and did not file an emergency motion as the plaintiff did in Belt. The

communications about which the defendant complained had begun with emails and other outreach

approximately three months prior, id. at *1, and perhaps the defendant concluded that a preliminary

injunction application might secure the court’s fast attention. Indeed, the defendant filed its motion

on May 15, 2006, and was heard three days later on May 18. Id. Although the court did not issue

its order granting the motion, in part, until August of that year, it is clear that the defendant sought

an urgent ruling from the court to stop the plaintiff’s unauthorized communications.

        More recently, in Reyes v. Topgolf International, Inc., the court granted in part the

defendants’ “Emergency Motion for Protective Order to Prohibit and Remedy Misleading




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Communications by Plaintiff’s Attorney.” 2017 WL 11496868, at *1 (N.D. Tex. 2017). The

defendants filed their emergency motion on April 5, the court conducted a hearing on the motion

on April 24, and the court issued an order on May 15. Id. The court noted that, in addition to relying

on the court’s inherent authority under Section 216 of the FLSA,“[i]n Vogt, the court also applied

the traditional framework for preliminary injunctive relief because the defendant sought a

temporary restraining order.” Id. at *2 n.3. But the court determined that the preliminary injunction

framework was not the only available approach in the situation: “Defendants do not seek a

temporary restraining order in this case, so that analysis is unnecessary here.” Id.

       Defendants, here, perceived the need for court intervention to be pressing. This Court might

not view the perceived need to have been emergent. But based on counsel’s past experiences

handling FLSA litigation, including certain of the cases cited and described herein, and a good

faith interpretation of case law and orders addressing similar circumstances, Defendants and the

undersigned believed they were asserting meritorious claims and contentions.

       Defendants understand that part of the Court’s concern about the labeling of the Motion is

the Court’s perception that Defendants “waited months” to file the Motion, thus suggesting that

the request was not emergent. Respectfully, Defendants were reacting to evolving and changing

circumstances. Defendants were aware of one advertisement in June 2020. At first, based on what

they knew, Defendants did not believe the post warranted seeking immediate Court intervention.

It was not until July 2020, and continuing into August 2020, that Defendants began receiving

additional complaints from employees concerning additional advertisements they were seeing.3 At




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  In the Motion, Defendants stated, “[i]n June 2020, while Plaintiff was renewing his motion asking
this Court to authorize and facilitate notice of this lawsuit to FieldCore employees, Defendants
learned that Plaintiff and his counsel launched another flurry of ads targeting FieldCore
employees.” (Dkt. 102 at 1.) Defendants should have been more clear that they learned about the


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that point, while also preparing to respond to Plaintiff’s renewed conditional certification motion,

Defendants began to consider that Court intervention would be necessary to put an end to

Plaintiff’s social media campaign, the intensifying frequency of which suggested, in Defendants’

and the undersigned’s view, both a concerted effort to usurp the Court’s authority to regulate notice

and a clear repudiation of the parties’ prior agreement reached through conferral. Defendants

prepared their Motion and filed it as soon as it was completed.

II.    History of Conferral

       In 2019, when Plaintiff’s counsel first initiated their social media campaign, counsel for

the parties conferred extensively over email and by phone. (See Dkt. 102-2.) Defendants’ counsel

made clear that they were prepared to file a motion to put a stop to what Defendants perceived to

be improper online solicitations. Over the course of several days, Plaintiff’s counsel pledged to

take action to avoid the filing of such a motion, including to immediately cease their postings

regarding FieldCore.

       Later, in May 2020, Defendants discovered new postings concerning FieldCore’s parent

company and brought them to Plaintiff’s counsel’s attention. Plaintiff’s counsel represented that

those postings were inadvertently run, and terminated them. But with the renewed campaign that

started the very next month, and the escalating frequency and vigor of new postings in and beyond

July 2020, it became apparent that Plaintiff’s counsel had repudiated their earlier agreement.

       At that point, undersigned counsel believed that any further discussion with Plaintiff’s

counsel would be futile—both because Plaintiff would not have withdrawn the advertisements,

and because even an assurance that Plaintiff’s counsel would cease running the advertisements




advertisements over a period of time that began soon after the parties reached an impasse in
negotiations, not in a single instance or moment.


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would have provided Defendants with no greater assurance than the broken promise Plaintiff

previously provided.4 With Plaintiff’s clear violation of their earlier agreement to stop advertising

in exchange for Defendants not filing a motion, Defendants believed that Plaintiff’s violation

rendered further conferral futile.

       Put a little differently: (a) Defendants believed they had conferred exhaustively in an effort

to convince Plaintiff to stop their online campaign in exchange for Defendants’ agreement to not

file a motion to stop them; (b) Defendants secured that quid pro quo agreement; (c) Plaintiff

breached the agreement; (d) Plaintiff’s renewed advertising meant that the promise made during

the prior conferral (i.e., Defendants will not file a motion if Plaintiff stops the advertisements) was

broken, as was the subsequent assurance that the May 2020 posting was inadvertent and would

cease; and (e) when the advertisements began again in June 2020 and escalated thereafter,

Defendants believed the purpose of their conferrals had failed, that Plaintiff would oppose

enforcing the original agreement after having withdrawn the inadvertent May posting but

reinstituting the campaign in June, and that filing the Motion was appropriate.5

       The undersigned did not intend to surprise Plaintiff or his counsel and did not intend to

engage in any kind of bad faith gamesmanship intended to circumvent this Court’s Rules. The

undersigned thought they had fulfilled their obligation to confer, even if the conferral process was

prolonged, with significant time passing and activity having occurred between the first discussions



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  It might bear noting that, while Defendants and their counsel adamantly contest the claims that
Plaintiff and his counsel make, communications among the parties and their counsel are generally
respectful and certainly professional. Defendants’ counsel know Plaintiff’s counsel well, respect
them, and are able to communicate openly with them about appropriate matters.
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  Although not offered as an excuse for Defendants’ misapprehension concerning the need for
further conferral, Plaintiff’s arguments and spirited opposition to the Motion in defense of their
decision to run advertisements notwithstanding the parties’ earlier agreement provide some insight
as to the anticipated resistance from Plaintiff.


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among the parties and Defendants’ submission of their Motion.

         As they move forward, Defendants understand that strict adherence to the Court’s rules,

including with regard to timing and conferral, is crucial. In particular, Defendants and undersigned

counsel understand resoundingly that counsel must confer close in time to the filing of any motion

under Local Rule 7.1(a). We will do so and will strictly adhere to these conferral requirements.

Defendants’ counsel apologizes for the inconvenience and irritation we caused the Court.

Defendants and undersigned counsel request the Court to accept this Response as sufficient cause

for use of “emergency” in the Motion and failing to timely confer concerning opposition to the

Motion.

Date: September 15, 2020                         Respectfully submitted,

                                                 /s/ Brett C. Bartlett
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